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                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT


                                      No. 21-2835


                               BRYAN DAVID RANGE,
                                              Appellant

                                            v.

              ATTORNEY GENERAL UNITED STATES OF AMERICA;
                    REGINA LOMBARDO, Acting Director,
                             Bureau of Alcohol,
                      Tobacco, Firearms, and Explosives



                     On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania

                              (E.D. Pa. No.5-20-cv-03488)



                               ORDER SUR PETITION
                             FOR REHEARING EN BANC



Present:      CHAGARES, Chief Judge, AMBRO, JORDAN, HARDIMAN,
              GREENAWAY, JR., SHWARTZ, KRAUSE, RESTREPO, BIBAS,
              PORTER, MATEY, PHIPPS, FREEMAN, and ROTH *, Circuit Judges


       A majority of the active judges having voted for rehearing en banc in the above
captioned case, it is ordered that the petition for rehearing is GRANTED. The case will
be argued before the en banc court on Wednesday, February 15, 2023 at 10:00 a.m.
The opinion and judgment entered November 16, 2022 are hereby vacated.

*
 Judge Roth’s vote is limited to panel rehearing; will participate as a member of the en
banc court pursuant to 3d. Cir. I.O.P. 9.6.4.
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       The Appellees shall file a supplemental brief in response to the arguments raised
in Appellant’s petition for rehearing, not to exceed 15 pages, within 14 days from the
date of this order. Appellees shall file 15 hard copies of the supplemental brief.

                                         BY THE COURT,

                                         s/ Michael A. Chagares
                                         Chief Judge

Dated: 6 January 2023
